           Case:18-10101-SDB Doc#:7 Filed:01/25/18 Entered:01/25/18 09:06:16                              Page:1 of 3




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF GEORGIA

IN RE: JEANETTE DENESE WALKER                                   CASE NO: 18-10101
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 13
                                                                ECF Docket Reference No.
                                                                Judge:
                                                                Hearing Location:
                                                                Hearing Date:
                                                                Hearing Time:
                                                                Response Date:


On 1/25/2018, I did cause a copy of the following documents, described below,
Chapter 13 Plan and Motion,




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.
DATED: 1/25/2018




                                                                   /s/ Angela Williams Seymour
                                                                   Angela Williams Seymour 636505
                                                                   LAW FIRM OF SEYMOUR & ASSOCIATES, P.C.
                                                                   101-B Rossmore Place
                                                                   Augusta, GA 30909-0000
                                                                   706 868 1968
                                                                   angieseymour@seymourbankruptcyfirm.com
              Case:18-10101-SDB Doc#:7 Filed:01/25/18 Entered:01/25/18 09:06:16                                          Page:2 of 3




                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF GEORGIA

 IN RE: JEANETTE DENESE WALKER                                            CASE NO: 18-10101

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 13
                                                                          ECF Docket Reference No.
                                                                          Judge:
                                                                          Hearing Location:
                                                                          Hearing Date:
                                                                          Hearing Time:
                                                                          Response Date:

On 1/25/2018, a copy of the following documents, described below,

Chapter 13 Plan and Motion,




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 1/25/2018




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             LAW FIRM OF SEYMOUR & ASSOCIATES, P.C.
                                                                             Angela Williams Seymour
                                                                             101-B Rossmore Place
                                                                             Augusta, GA 30909-0000
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
          Case:18-10101-SDB Doc#:7 Filed:01/25/18 Entered:01/25/18 09:06:16                    Page:3 of 3
CASE INFO                                EXCLUDE
1 LABEL MATRIX FOR LOCAL NOTICING        2 ANGELA WILLIAMS SEYMOUR                3 COASTAL CREDIT LLC
113J1                                    LAW FIRM OF SEYMOUR ASSOCIATES PC        PO BOX 1069
CASE 18-10101-SDB                        101-B ROSSMORE PLACE                     CARMEL IN 46082-1069
SOUTHERN DISTRICT OF GEORGIA             AUGUSTA GA 30909-5772
AUGUSTA
WED JAN 24 16-41-44 EST 2018




4 COLLECTION RECEIVABLES                 5 CONVERGENT OUTSOURCING                 6 GEORGIA DEPARTMENT OF REVENUE
FOR MEDICAL PAYMENT DATA                 FOR TMOBILE USA                          COMPLIANCE DIVISION
1835 CENTRAL AVE                         800 SW 39TH ST                           ARCS BANKRUPTCY
AUGUSTA GA 30904-5734                    RENTON WA 98057-4975                     1800 CENTURY BLVD NE SUITE 9100
                                                                                  ATLANTA GA 30345-3202



                                         DEBTOR
7 IC SYSTEM INC                          8 JEANETTE DENESE WALKER                 9 JEFFERSON CAPITAL SYSTEMS LLC
FOR ATT                                  2133 VANDIVERE RD                        PO BOX 7999
PO BOX 64378                             APT 6-A                                  SAINT CLOUD MN 56302-7999
SAINT PAUL MN 55164-0378                 AUGUSTA GA 30904-5485




10 HUON LE                               11 MAGNOLIA PARK APARTMENTS              12 NATIONWIDE RECOVERY SERVICE
PO BOX 2127                              2133 VANDIVERE ROAD                      FOR MEDICAL PAYMENT DATA
AUGUSTA GA 30903-2127                    AUGUSTA GA 30904-5468                    PO BOX 8005
                                                                                  CLEVELAND TN 37320-8005




                                                                                  EXCLUDE
13 OFFICE OF THE U S TRUSTEE             14 PROVIDENCE PLACE                      15 ANGELA WILLIAMS SEYMOUR
JOHNSON SQUARE BUSINESS CENTER           2205 SOUTHGATE DR                        SEYMOUR ASSOCIATES PC
2 EAST BRYAN STREET STE 725              AUGUSTA GA 30906-2315                    101-B ROSSMORE PLACE
SAVANNAH GA 31401-2638                                                            AUGUSTA GA 30909-5772




16 SUNSET VILLA INC                      17 TABB FINANCE                          18 TMX FINANCE LLC FORMERLY TITLEMAX
1750 ESSIE MCINTYRE BLVD                 138 JAMES BROWN BLVD                     15 BULL STREET
AUGUSTA GA 30904-6050                    AUGUSTA GA 30901-1217                    SUITE 200
                                                                                  SAVANNAH GA 31401-2686
